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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
)
LIBERTY MEDIA HOLDINGS, LLC ) Case No.
)
Plaintif£, )
) FILED UNDER SEAL
VS. }
} DECLARATION OF MARC J. RANDAZZA
SERGEJ LETYAGIN, d'b/a } IN SUPPORT OF EX PARTE MOTION FOR
SUNPORNO.COM, IDEAL CONSULT, ) ORDER TEMPORARILY SEALING
LTD., “ADVERT”, “CASTA”. 5 PORTIONS OF THE FILE AND MOTION
“TRIKSTER”, “WORKER”, “LIKiS”. } FOR ALTERNATE SERVICE
“TESTER” and DOES 1-50 )
)
Defendants )
}
)
)

I, MARC RANDAZZA, declare under penalty of perjury thar:

1. I am the counsel for Plaintiff Liberty Media Holdings, LLC.

2. The following statements are based upon personal knowledge of the facts, and if
called to, I would be able to competently testify to the facts contained herein.

3, 1 am familiar with the actions of foreign-based, offshore intellectual property
pirates. It is within my knowledge and expertise that when intellectual property thieves become
aware that their actions may result in legal liability, they quickly take steps to evade such
liability, and to evade service.

S, I am familiar with the Defendants in the instant case, as I previously dealt with

their evasion of service in a pnior case.

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5. Rule 4(f)(3) allows Defendants in a foreign country to be served “by other means
not prohibited by international agreement, as the court orders.”

6. As such, Plaintiff Liberty needs prior permission in order to serve defendants via
alternative methods of service.

7. 1 have found a number of valid, working email addresses to use in order to contact

the Defendants: webmaster¢énizhtangel.com and tgpalliance@igmail.com. [ have engaged in

research directed at finding a physical location for any of the defendants, and I have been unable
to locate them. As such, clectronic service is the most viable method for serving these hidden
defendants.

8. Further, the Defendants are represented by U.S.-based attorneys, Ms. Jennifer
Rinden, Esq., Ms. Connie Alt, Esq., Valentin Gurviis, Esq. and Evan Fray-Witzer, Esq. Gurvits

and Fray-Witzer are actually defending this very same website (www.sunpomo.com) and

individual (Letyagin) in Fraserside v. Letyagin, Civil Case No. 11-cv-03041-MWB (N.D. Iowa).
Mr. Gurvits and Mr. Fray-Witzer are cthically bound to communicate with their client, and will
inform their clicnts if service is effected upon them.

9. In my opinion, gained through my years of experience pursuing copyright
scofflaws, if the Defendants become aware that Plaintiff is attempting to obtain an order
allowing altermative service via emai] or by service upon Ms. Rinden, Ms. Alt, Mr. Gurvits
andor Mr. Fray-Witzer, Defendants will, in all likelihood, disable alt existing emails addresses
in order to further evade service and frustrate any such relief. As such, it is necessary to file both
the Motion Temporarily Sealing Portions of the File and the Motion for Alternate Service under
seal.

10. It is also my professional opinion that, if the parties to this suit were served with
documents in this case via email, they would receive them and have notice of the claims against
them with more certainty than if traditional means of service were roquired,

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Randazza Declaration In Support of Motion for Seal

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it. As such, it is necessary to file Plaintiff's Motion to Seal Portions of the File,
Plaintiff's Motion for an Order Allowing Alternate Service Via Email, and Complaint under scal.
These documents may be unsealed as soon as Plaintiff has served Defendants yia email, and

Plaintiff will alert the Court as to when this has taken place.
Executed this 31st day of May, 2012 under penalty of perjury in Las Vegas, Nevada.

s/Mare J. Randazza

Mare J. Randazza, Esq., NV Bar #12265
Randazza Legal Group

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Randazza Declaration In Support of Motion for Seal

